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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                         Grand Jury N-19-2


UNITED STATES OF AMERICA
                                                       CRIMINAL NO.        5 ·, 20 C ( 4 l (:'Jc Hj(SAl-JY' ')
       v.                                              VIOLATIONS :

NORMAN NEWMAN                                          18 u.s.c. § 1349
                                                       (Conspiracy to Commit Mail and
                                                       Wire Fraud)
                                                       18 u.s.c. § 1343
                                                       (Wire Fraud)

                                           INDICTMENT

       The Grand Jury charges:


       1.      At all times relevant herein, Norman Newman ("NEWMAN"), together with others

known and unknown to the Grand Jury, knowingly supplied lists of potential victims for use in

fraudulent mass-mailing schemes. These potential victim lists were essential to fraudulent mass

mailers, who could not perpetrate their schemes without such lists.

                                             Defendant

       2.      NEWMAN was Senior Vice President of Sales for a company ("the Company")

that offered list brokerage services to clients engaged in mass-mailing fraud. NEWMAN and his

co-conspirators assisted clients by obtaining lists of potential victims for his clients to buy, and by

helping clients sell their lists of victims to other mailers. The Company's offices were located in

New York from at least as early as February 2005 until 2011 and in Connecticut from 2011 through

at least as late as September 2016.


                                          COUNT ONE
                           (Conspiracy to Commit Mail and Wire Fraud)
       3.      Paragraphs 1 and 2 of this Indictment are incorporated by reference.
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       4.       From in or about February 2005 through in or about September 2016, the exact

dates being unknown to the Grand Jury, in the District of Connecticut and elsewhere, NEWMAN

and his co-conspirators did unlawfully, knowingly, and willfully combine, conspire, confederate,

and agree with others known and unknown to the Grand Jury, to commit mail fraud, in violation

of Title 18, United States Code, Section 1341; and wire fraud, in violation of Title 18, United

States Code, Section 1343.

                                   The Object of the Conspiracy

       5.       The object of the conspiracy was for NEWMAN and his co-conspirators to enrich

themselves by helping fraudulent mass mailers acquire lists of potential victims to defraud and by

helping mass mailers sell lists of potential victims to be defrauded by others.

                             The Manner and Means of the Conspiracy

       6.       NEWMAN and his co-conspirators acted as list brokers for fraudulent mass

mailers. The mass mailers sent out fraudulent letters that appeared to be personalized to each

recipient when, in actuality, the same letters were sent to thousands of consumers on the mailing

lists that NEWMAN provided. Each letter was intended to mislead the consumer into believing

they would receive a large amount of money, a valuable prize, or personalized psychic services

upon payment of a fee to the mass mailers, who operated under false names. NEWMAN and his

co-conspirators were paid a commission for brokering the sale of lists of potential victims to

fraudulent mass mailers. NEWMAN and his co-conspirators obtained mailing lists for fraudulent

mass-mailer clients, knowing those clients intended to defraud the consumers on those

lists. NEWMAN and his co-conspirators also assisted fraudulent mass-mailer clients in earning

income from lists of victims the clients had already defrauded by selling those lists to other

fraudulent mass mailers.

       7.       NEWMAN and his co-conspirators knew the content and fraudulent character of

their clients' letters because they routinely requested and received sample copies of them during

list transactions. NEWMAN and his co-conspirators then kept those sample copies of fraudulent

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letters for reference at the Company in both digital and paper form. In general, the most effective

mailing lists for any particular fraudulent mass mailing were lists made up of victims of other

mass-mailing campaigns that used similarly deceptive letters. NEWMAN and his co-conspirators

accordingly used the sample copies of client letters they received and maintained to make

recommendations of particular mailing lists to fraudulent mass-mailer clients.

        8.      NEWMAN and his co-conspirators received warnings that clients' letters were

fraudulent, and that victims of their fraudulent mass-mailing clients were vulnerable. For example,

in or about February 2012, a list owner wrote to NEWMAN: "Just yesterday a guy wrote to me

about his [A]lzheimer wife believing she won ..... for all offers, including this one, where it really

appears that the person is getting a check sent to them for lots of money and seemingly no

qualifiers, I must say no."

       9.       NEWMAN and his co-conspirators also knew that certain of their clients were

under scrutiny by law enforcement. For example, in or about December 2009, NEWMAN

circulated within the Company a news article about a client of the Company who had been arrested

for sending letters to victims that requested a "processing fee" to claim a "sweepstakes prize." In

or about December 2014, NEWMAN discussed with a client that another major mass-mailer client

who had regularly ordered mailing lists from the Company had been "stopped by the authorities."

Similarly, in or about June 2015, NEWMAN knew that the Company was warned by the Iowa

Attorney General's Office that the Company's clients were deceiving elderly Iowans. After

receiving these and other warnings, NEWMAN and his co-conspirators continued to provide

mailing lists of victims to mass mailers they knew were engaged in fraud.

       10.      NEWMAN also helped fraudulent clients to manage disruption to their business

caused by law enforcement action. For example, in or about December 2014, NEWMAN offered

his services to a fraudulent mass mailer whose prior list broker shut down to avoid federal law

enforcement. Similarly, in or about June 2016, NEWMAN sent a client a link to a newspaper

article with the headline "Feds: Mail fraud schemes scam seniors," together with materials

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connecting the client's own letters to the subject of the newspaper article. Two months later, in or

about August 2016, NEWMAN advised the client on how to restructure the client's company to

make it easier to change names frequently and thereby evade law enforcement scrutiny.

         11.    During the course of the conspiracy, NEWMAN knowingly furnished millions of

potential victims to clients engaged in fraudulent mass-mailing campaigns.

         All in violation of Title 18, United States Code, Section 1349.


                              COUNTS TWO THROUGH SIXTEEN
                                       (Wire Fraud)
         12.    Paragraphs 1-11 of this Indictment are incorporated by reference.

         13.    Beginning in or around February 2005 and continuing through on or about

September 22, 2016, in the District of Connecticut and elsewhere, NEWMAN, together with others

known and unknown to the Grand Jury, knowingly and with the intent to defraud, devised a scheme

and artifice to defraud consumers in order to obtain money and property by means of materially

false and fraudulent pretenses, representations, and promises, to wit, by brokering the exchange of

mailing lists between clients who defrauded consumers using fraudulent letters, as described

above.

                            The Executions of the Scheme and Artifice

         14.    On or about the dates listed below, in the District of Connecticut and elsewhere, for

the purpose of executing the above-described scheme and artifice to defraud, NEWMAN, together

with others known and unknown to the Grand Jury, knowingly caused to be transmitted in

interstate commerce by means of wire communications certain writings and sounds, each

constituting a separate count of this Indictment, as follows:


    COUNT        APPROXIMATE DATE                        DESCRIPTION OF WIRES
    2.           1/29/15                    !Interstate email from NEWMAN in Connecticut
    3.           7/23/15                    !Interstate email from NEWMAN in Connecticut
    4.           7/27/15                    !Interstate email from NEWMAN in Connecticut
                                                 4
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     COUNT          APPROXIMATE DATE                        DESCRIPTION OF WIRES
    I 5.            8/18/15                    1Inl r tat email from NEWMAN in Connecticut
     6.             9/10/15                    1n1 rstat email from NEWMAN in Connecticut
     7.             9/24/15                    ll.n terstat email from NEWMAN in Connecticut
    18.             9/30/15                    tlnterstnte email from the Company in Connecticut
                                               cau ed by NEWMAN
     9.             1/20/16                    1
                                                (nterstate email from NEWMAN in Connecticut
                    1/26/16                    linter tate email from the Company in Connecticut
    110.                                       lcau ·ed by NEWMAN
     11.            2/19/16                    [[nterstate email from NEWMAN in Connecticut
     12.            3/15/16                    [i nterstate email from the Company in Connecticut
                                                caused by NEWMAN
     13 .           6/3/16                     imterstate email from NEWMAN in Connecticut
     14.            6/8/16                     l.thterstcJte email from NEWMAN in Connecticut
     15.           ~6/24/16                    /Interstate email from NEWMAN in Connecticut
     16.            8/5/16                     µ:ntcrstate email from NEWMAN in Connecticut


           All in violation of Title 18, United States Code, Section 1343.


                                    FORFEITURE ALLEGATION

           15.    Upon conviction of one or more of the conspiracy to commit mail and wire fraud

or wire fraud offenses alleged in Count(s) 1-16 of this Indictment, NEWMAN shall forfeit to the

United States of America, pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title

28, United States Code, Section 246l{c), all right, title, and interest in any and all property, real or

personal, which constitutes or is derived from proceeds traceable to violations of Title 18, United

States Code, Sections 1343 and 1349, and a sum of money equal to the total amount of proceeds

obtained as a result of the offenses.

           16.    If any of the above described forfeitable property, as a result of any act or omission
of NEWMAN, cannot be located upon the exercise of due diligence, has been transferred, sold to,

or deposited with a third party, has been placed beyond the jurisdiction of the court, has been

substantially diminished in value, or has been commingled with other property which cannot be
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divided without difficulty, it is the intent of the United States, pursuant to Title 21, United States

Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of NEWMAN up to the value of the forfeitable property described

above.




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       All in accordance with Title 18, United States Code, Section 981(a)(l), as incorporated by

Title 28, United States Code, Section 2461(c), Title 21, United States Code, Section 853, and Rule

32.2(a), Federal Rules of Criminal Procedure.




                                                    A TRUE BILL



                                                    FOREPERSON


THE UNITED STATES OF AMERICA



LEONARD C. BOYLE
FIRST ASSISTANT U.S. ATTORNEY
DISTRICT OF CONNECTICUT




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ASSISTANT U.S. ATTORNEY                             EHREN REYNOLDS
                                                    TRIAL ATTORNEYS




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       All in accordance with Title 18, United States Code, Section 981 (a)(l ), as incorporated by

Title 28, United States Code, Section 2461(c), Title 21, United States Code, Section 853, and Rule

32.2(a), Federal Rules of Criminal Procedure.




                                                     A TRUE BILL


                                                             /s/
                                                     FOREPERSON


THE UNITED STATES OF AMERICA



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FIRST ASSISTANT U.S. ATTORNEY
                                                    GUSTAV W. EYLER
                                                    DIRECTOR
DISTRICT OF CONNECTICUT                             CONSUMER PROTECTION BRANCH
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